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* ~Case`1:10-cv-00838-M`)\/-KBM Document 1-1 Filed 09/09/"1 " '
,?=nanasa)
F\rst Judu;\a| Dlstrlct Court
|2-201,3-201]=z ' , _
AUG ~5 2010 ~».
faa ‘

STATE OF NEW MEXICO
Santa Fo, Rio Arrlba &

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CIVIL CoMPLAINT 7 ‘Z ‘z." 3 6 b
exfo " (

. . ` ~ '.C m Y
1. Plaintiff or defendant restdes; or may be found in, or/t?e %a§s¥ §f§'ct“ib~¥x arose in t{tis county.
. b
2. Plaintiff claims from Defendant the amount of»$ JS' Q, §§ DQ "? and also claims interest and
court costs. - `

Plaintiff claims nom Defendant personal pro erty of the value/of $ D~ 5 0 9 00 “"L;thich is

described as follows: M<L;"c=»\ \oi,\h; \,o 5 - W mg cs , F'Lw\ q v\x so ,p~_F¥cr t"*;\»)’ . .
f § \ €."; 0 ` \‘L . U' "¢\'. 19 C.{ a_,""l\p‘ov\$. /z`QI`C. ®F
¢<(.L'_WM 9\¢\ , w \ \.\,'S 70~=$<1 w cf crux of ‘_ tm\¢_+
3. Plaintiff's cl;im an'ses from the following event or transgz:tion:

       

 

 

4. Trial by jury is (not) demanded (Ifajury is demanded, an additional cost must be paid upon

 

 

 

filing.)
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Date Signed '
(Ro§wly'> scot f r C~$ va
Name (prinl) 4 ' ‘
LH 80 C`v\»\varro v\ Q\m<
Ad`dress (print) ` `

S¢\wjt¢\ llc b<l»\!~ K<Algo 373 0']
City, State and Zip Code (vrint) '

(s~o§)¢/z@ scc/7

Telephone Number ' ‘
[As amended, effective January l, 1995.]~

 

 

 

Case 1:10-cv-00838-I\/Ii\/-KBI\/| Document 1-1 Filed 09/09/`10 Page 2 01°6

August 4, 2010

Rodrigo Carra`sco
4180 Chaparron` Place
Santa fe Nl\/l, 87507

Vs.

CA|C insurance USA

l\/lichelle Ornelas Claim Representative
Certificate No. CF1-112216

415 Lockhaven Dr.

Houston TX, 77073

Transportes Soto e Hijos C.V. insured
1160 Joe Batt|e `

El Paso TX, 79936

Honorab|e Judge, _

l, Rodrigo Carrasco, Was in an accident on June 14, 2006 With _a semi-truck
from Transportes Soto e Hijos..Transportes Soto e Hijos has been neglectingto
pay the damages caused from that accident Recently l found out that the semi-
truck Was insured by CA|C insurance USA They have been neglecting to
release any kind of information to me so l ask if you can give me a hearing of 15
minutes so l can make a claim of 250, 000. 00 dollars This ls the amount of
money l ask for damages to my truck, medical expenses, surgeries, medicines,
failure of child support, and other expenses The sami-truck of Transportes‘Soto
e Hijos invaded my lane directly to me. The accident happened 4. 9 miles from
the border on an international l_Zntran_ce Port` 1n Juarez, Nlexico as indicated on
policy PCOOO4724. Coverage’ s are valid Within 50 miles from the Entrance Port
of the insured Transportes Soto as stated 1n article 3 from the Pub|ic Law 96- 296.
The semi-truck was responsible for the accident and | Would appreciate ii you
can help me get justice Honorable Judge, thank you for your time.

Sincerely,

YoJ»/?? ctwa Hv`i ."SJV §/ lol@

Rodrigo Carrasco

 

 

 

.Case 1:10-cv-00838-I\/|`t/-KBI\/| Document 1-1 Filed 09/09/10 Page 3 of 6

July 14, 2010
Rodrigo Carrasco
4180 Chaparron Place
Santa fe NNl, 87507
- Vs.
CAlC lnsurance USA
RE: insured Transportes Soto E Hijos S.A. de C.V.
driver, Hector Nlanuel D_ominguez Acosta
Certificate No. C.F1-1122116
Date of Loss June 14, 2006

Dear N|ichelle Ornelas,

ln the Federal law of the USA, it has been permitted to
free-commerce with the condition that the trucks have to be
insured with in the border of Mexico. They are insured as long as
they are with in 25-50 miles past the order and have to be on Port
of Entrance. The accident that happened on June 14, 2006 was 4.9
miles away from the border of `Mexico and it was on a Port of
Entrance. l would like to receive a copy of the correct policy and
what it covers for Transportes Soto e Hijos. lf in two weeks we
don't reach to an agreement or l don't receive the information l
asked for, l will make a civil claim in the state of New Mexico for
250,000.00 dollars at the First Judicial Court County of Santa Fe.
Thank you for your attention.

Sincerely,

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Rodrigo Carrasco J.
Cell Phone (505)410,-8970 .
1 930 vSa-,.W;o

 

 

Case 1:10-cv‘-00838-I\/l`i/-KBI\/| Document 1-1 Filed OE'?Q]%P{JSW%

 

 

FIRST JUDICIAL DISTRICT CGURT v FiFST vJ\.ifiil€ii§i Di§tri@t CCUrt
STATE OF NEW l\/IEXICO ~ v
COUNTY OF § q ¢A."i`¢r pac AUG s 5 Zi]iii

Santa Fe. Rlo Arriba & .,1 .
`QD c:Lf/[ 90 Cd\ f`f`o-UC 'l> Los Alamos Countias 3 :'"
Petitioner, ~ same 1=§) BWB%‘;“$U$Z Z§SB EWW§
vs. CaseNo. bimC‘/\}QO/o©€>l?%

 

C@ mm€.rt\\ai ”Fl \\ \MC 3 \/\,S Vrocu,c,e ge v'\P¢u/vj’.
Respondent.

REQUEST FoR HEARJ:NG

l. Type of case: NON JURY

i""ar`sz`m'.r.v. 11
2. Judge to Whom assigned: iB . g

 

3. Are there any hearings presently set? '_‘Yes _>g`_ No
Ifyes, when?

 

4. Specific matters to be heard [ for example, “alimony” or “Motion to Enforce”', etc.]:

 

5. Estirnated total time required for heating all parties and witnesses: ! 5 1441 ¢M»' {"S

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Signature

Mailiug Address for Other P

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Other Paxty’s Attomey Telephone

 

 

 

 

 

 

 

 

 

 

Remember: It is Youc Ob`ligation to Pronlptly Mail or Serve a Copy to the Other Party

 

 

 

 

Case 1:10-cv-00838-ll}]V-KBM Document 1-1 Filed 09/09}510' Page 5 of 6 `

 

 

 

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FIRsT JumciAL omch CoURT ' " " “"°
couNTY or 139 ,¢'\~@ g . 4
R<=Ln??a C¢\w~c~/s c 0 ,Plaimiff
vs. ‘ No. `D )Oi.o.v 301©0 9¥¢/`0

_ Co m<,rc,¢`¢d 9 \ \ `\ ante st \> “Cu/LLE COW\(-'agf»; Defendant
suMMoNs H
, THE srA-TE oF NEW MExrco

TO: C~o vv\LY\c,l> q'\ F°¢ l \ lCM/LCC :S`hgov<w.\; 'Co mfh\, efendant
ADDREss: §/z < /».o<)a\,\<log_& D n swiss T¢)L 77 1375
GREETINGS: . .

You are hereby directed to serve a pleading or motion in response to the complaint within
thirty (30) days after service of this summons, and tile the same, all as provided by law.

You' are notified -that, unless you serve and file a responsive pleading or motion, the
plaintiff will apply to the court for the relief demanded in the complaint

Attomey or attorneys for plaintiff

 

Address of attorneys for plainti&':
(0r of plaintiffv if no attorney) -
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'Q ct ,.L\\s joy A)Q.L»“ M~=)~Cw 5/75"’7
C§o<§ L.L")o s;:<z 20

` Barbara 134 Vlg“ j`
, WlTNESS the Honorable_ ’ f ‘~ ' , district judge of the FIRST
judicial district/court of the State of New Mexico,' and the seal of the district court of

§//nm/A: County,‘this jsz dayof /-?UF;,L($Y'- ,20 /O.

 

 

.}k_,: v sTEPHt-:NT.PACHECO

'_~"1,"-`:";,~,‘11‘ m C-.~ ` Cl of the Court
f c . {; . _f-.'j-, . .- `

 

 

 

 

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s 3 , Case 1:10-CV-00838-M\/-KBM [§tc>)lcument 1-1 F§edzé)S/OQ/J.O Page 6 of 6 g
4r
(,chec`k one box and fill in appropriate blanks) _
[ ] [to Defendant (used When Defendant receives copy of Summons or refuses to
receive Summons)
[ ] [to _ , a person over fifteen (15) years of

age and residing at the usual place of abode of Defendant , who at the time of such
service Was absent therefrom.]

[ ] [by posting a copy of the Summons and Complaint in the most public part of the premises of
Defendant (used if no person found at dwelling house or usual place of
abode)

[ ] [to , an agent authorized to receive service of process for Defendant

 

[ ] [to , (parent) (guardian) of Defendant ( used when Defendant is a
minor or an incompetent person) g

[ ] [to . (name of person), ' , (title of person
authorized to receive service) (used when Defendant is corporation or association subject to a suit under
a common name, a land grant board of trustees, the State of New Mexico or any political subdivision)
Fees: ~

 

Signature of Person Making Service

 

Title (if any)

*Subscribed and sworn to
before me this
day of , 19

 

Judge, Notary or Other Ofticer
Authorized to Administer Oaths

 

Ofiicial Title

*If service is made by the sheriff or a deputy
sheriff of a New Mexico county, the signature
of the sheriff or deputy sheriff need not be
notarized

[Adopted effective August l, 1988.]

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http://www.supremecourt.nrn.org/supct_fonns/dc-civil/VlEW/4;206.htrnl l 5/26/2004

